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                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

  QUINTIN-JOHN D’AGIRBAUD, III, ) CIVIL NO. 18-00021 JMS-RLP
                                )
            Plaintiff,          ) ORDER GRANTING PLAINTIFF’S MOTION
                                ) FOR A JURY TRIAL
       vs.                      )
                                )
  SARAH ALANZO, ET AL.,         )
                                )
            Defendants.         )
  _____________________________ )

           ORDER GRANTING PLAINTIFF’S MOTION FOR A JURY TRIAL

              On February 15, 2019, Plaintiff filed a Motion to

  Am[]end Trial and Conference Scheduling, see ECF No. 44, which

  the Court construed as a motion for a jury trial under Federal

  Rule of Civil Procedure 39(b), see ECF No. 45.         Defendants filed

  their Response on March 4, 2019.       ECF No. 47.    Plaintiff filed

  his Reply on March 18, 2019.       ECF No. 48.    The Court found this

  matter suitable for disposition without a hearing pursuant to

  Rule 7.2(d) of the Local Rules of Practice for the United States

  District Court for the District of Hawaii.         ECF No. 45.    After

  careful consideration of the submissions of the parties and the

  relevant legal authority, the Court GRANTS Plaintiff’s Motion.

                                  BACKGROUND

              Plaintiff filed his Prisoner Civil Rights Complaint on

  January 12, 2018, alleging that Defendants violated his

  constitutional rights when they allegedly failed to protect him

  from assault by other inmates and retaliated against him for

  filing grievances.     ECF No. 1.    Based on the district court’s
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  screening order and Plaintiff’s election, the claims that remain

  in this action are Plaintiff’s claims in Count I and II under the

  Eighth Amendment against Defendants Sarah Alanzo and Dovie Borges

  in their individual capacities and a retaliation claim against

  Defendant Alanzo.     See ECF Nos. 7, 9.     Plaintiff’s Complaint was

  served on Defendants Sarah Alanzo and Dovie Borges, who filed an

  answer on June 20, 2018.      ECF Nos. 16, 17, 28.

                                  DISCUSSION

              Rule 38 of the Federal Rules of Civil Procedure

  provides in pertinent part:

              On any issue triable of right by a jury, a
              party may demand a jury trial by:

              (1) serving the other parties with a written
              demand — which may be included in a pleading —
              no later than 14 days after the last pleading
              directed to the issue is served; and

              (2) filing the demand in accordance with Rule
              5(d).

              * * *

              A party waives a jury trial unless its demand
              is properly served and filed.

  Fed. R. Civ. P. 38(b), (d).      “[T]he purpose of a jury demand is

  to inform the court and opposing counsel that certain issues will

  be tried to a jury.”     Lutz v. Glendale Union High Sch., 403 F.3d

  1061, 1065 (9th Cir. 2005).      “A party’s failure to serve and file

  the demand in the manner specified in Rule 38(b) constitutes a

  waiver of the right to a trial by jury.”        Solis v. Cty. of LA,

  514 F.3d 946, 953–54 (9th Cir. 2008).        Rule 39 allows the court,


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  on motion, to order a jury trial on any issues for which a jury

  might have been demanded.      Fed. R. Civ. P. 39.

               Here, based on the Court’s review of the record,

  Plaintiff made a timely and unequivocal jury demand.          See Fed. R.

  Civ. P. 38; Solis, 514 F.3d at 954 (holding that the trial

  court’s finding that the plaintiff did not file a jury demand was

  clearly erroneous where the words “DEMAND FOR JURY TRIAL” were

  included in the caption of the plaintiff’s complaint and the last

  page of his complaint contained an request for a trial by jury).

  The first page of Plaintiff’s Complaint states “Jury Trial

  Demanded.”    ECF No. 1 at 1.    Further, the section regarding

  Request for Relief in Plaintiff’s Complaint states that he

  requests damages “to be decided upon by a jury.”          Id. at 16.

  Defendants’ Scheduling Conference Statement also indicates that

  Plaintiff made a demand for a jury trial.         See ECF No. 33 at 2.

  There is no indication in the Minutes from the Rule 16 Scheduling

  Conference that Plaintiff withdrew his jury demand.          See ECF No.

  34.   Based on the Court’s review of the docket, it appears that

  Plaintiff’s jury demand was inadvertently overlooked and the

  initial trial setting as a non-jury trial was in error.

  Accordingly, the Court will issue an amended scheduling order

  setting a jury trial and related pretrial deadlines.

                                  CONCLUSION

               Because Plaintiff made a timely jury demand, the Court

  GRANTS his Motion and will issue an amended scheduling order

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  setting this case for jury trial.

              IT IS SO ORDERED.

              DATED AT HONOLULU, HAWAII, MARCH 21, 2019.




                                     _____________________________
                                     Richard L. Puglisi
                                     United States Magistrate Judge


  D’AGIRBAUD V. ALANZO, ET AL.; CIVIL NO. 18-00021 JMS-RLP; ORDER
  GRANTING PLAINTIFF'S MOTION FOR A JURY TRIAL




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